Case 3:16-md-02738-MAS-RLS   Document 39584   Filed 07/01/25   Page 1 of 6 PageID:
                                  279727
Case 3:16-md-02738-MAS-RLS   Document 39584   Filed 07/01/25   Page 2 of 6 PageID:
                                  279728
Case 3:16-md-02738-MAS-RLS   Document 39584   Filed 07/01/25   Page 3 of 6 PageID:
                                  279729
Case 3:16-md-02738-MAS-RLS   Document 39584   Filed 07/01/25   Page 4 of 6 PageID:
                                  279730
Case 3:16-md-02738-MAS-RLS   Document 39584   Filed 07/01/25   Page 5 of 6 PageID:
                                  279731
Case 3:16-md-02738-MAS-RLS   Document 39584   Filed 07/01/25   Page 6 of 6 PageID:
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